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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:12CR70
                       Plaintiff,                 )
                                                  )
      vs.                                         )             ORDER
                                                  )
GUILLERMO MONARREZ,                               )
                                                  )
                       Defendant.                 )


      This matter is before the Court on the motion of defendant Guillermo Monarrez
(Monarrez) for an extension of the pretrial motion deadline (Filing No. 140). The motion
does not comply with NECrimR 12.1 (a) and paragraph 9 of the Progression Order (Filing
No. 54) in that the motion is not accompanied by the defendant’s affidavit or declaration
stating that defendant:
      (1)    Has been advised by counsel of the reasons for seeking a continuance;
      (2)    Understands that the time sought by the extension may be excluded from any
             calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
      (3)    With this understanding and knowledge, agrees to the filing of the motion.

      Accordingly, the motion (Filing No. 140) is :
             (X)       Held in abeyance pending compliance with NECrimR 12.1(a) and
                       Paragraph 9 of the Progression Order. Absent compliance on or
                       before July 2, 2012, the motion will be deemed withdrawn and
                       termed on the docket.
             (     )   Denied.
      IT IS SO ORDERED.


      DATED this 25th day of June, 2012.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
